Case 2:05-cr-20158-.]PI\/| Document 10 Filed 08/17/05 Page 1 of 2 Page|D 13

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rN THE UNITED STATES DIsTRICT CoURT
FoR THE WESTERN DISTRJCT oF TENNESSEE 05 AU-G 17 AH 9= 19
WESTERN DIVISION
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UNITED STATES OF AMERICA

V.

KERRY ANDRE SHELTON 05cr20158-2-Ml

 

ORDER ON ARRAIGNMENT

This cause came to be heard on A`::gl“¢ /€, 2 dry j the United States Attorney
for this district appeared on behalf of the go ment, an the defendant appeared in person and with

counsel:

NAMW¢/d yvé€ A/v MA_, who is Retained/Appointed.
\--'_""'-,

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

 

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who 15 not in Custody, may stand on his present bond.

M;THE defendant, (not he;\.rirng;nede-borrd) (being a_j.tate-p‘ri‘s€r§ar) (being a federal

prisoner) (being held withou ond pursuant to BRA of 1984), is remanded to the custody
of the U.S. Marshal. M
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 21 :846
CONSPIRACY TO DISTR_IBUTE CONTROLLED SUBSTANCE

Attorney assigned to Case: S. Canale

Age: w

ThIs document entered on the docket sheet in compliance
with ante ss and/or 32(1;>} FaorP on ~ “'O

 

   

UNITED sTATE DRISTIC COUR - WTER D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 10 in
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Stuart J. Canale

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Honorable J on McCalla
US DISTRICT COURT

